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              EXHIBIT 11
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                                                  UNITED STATES
                                      SECURITIES AND EXCHANGE COMMISSION
                                                                     Washington, D.C. 20549
                                                                          FORM 8-K
                                                           CURRENT REPORT
                                   Pursuant to Section 13 OR 15(d) of The Securities Exchange Act of 1934

                                                                     June 27, 2022
                                                     Date of Report (date of earliest event reported)




                                                                         NIKE, Inc.
                                                (Exact name of registrant as specified in its charter)
                            Oregon                                              1-10635                                       XX-XXXXXXX
         (State or other jurisdiction of incorporation)               (Commission File Number)                     (I.R.S. Employer Identification No.)


                                                                     ONE BOWERMAN DRIVE
                                                                   BEAVERTON, OR 97005-6453
                                                          (Address of principal executive offices and zip code)

                                                                            (503) 671-6453
                                                          Registrant's telephone number, including area code

                                                                       NO CHANGE
                                                  (Former name or former address, if changed since last report.)

Check the appropriate box below if the Form 8-K filing is intended to simultaneously satisfy the filing obligation of the registrant under any of the following
provisions:

☐    Written communications pursuant to Rule 425 under the Securities Act (17 CFR 230.425)

☐    Soliciting material pursuant to Rule 14a-12 under the Exchange Act (17 CFR 240.14a-12)

☐    Pre-commencement communications pursuant to Rule 14d-2(b) under the Exchange Act (17 CFR 240.14d-2(b))

☐    Pre-commencement communications pursuant to Rule 13e-4(c) under the Exchange Act (17 CFR 240.13e-4(c))

Securities registered pursuant to Section 12(b) of the Act:

                  Class B Common Stock                                           NKE                                 New York Stock Exchange
                    (Title of each class)                                  (Trading Symbol)                    (Name of each exchange on which registered)


Indicate by check mark whether the registrant is an emerging growth company as defined in Rule 405 of the Securities Act of 1933 (§230.405 of this chapter)
or Rule 12b-2 of the Securities Exchange Act of 1934 (§240.12b-2 of this chapter).
                                                                                                                               Emerging growth company ☐

If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying with any new or
revised financial accounting standards provided pursuant to Section 13(a) of the Exchange Act.
                                                                                                                                                                  ☐




                                                                                                                                       Exhibit 11 - page 1
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Item 2.02 Results of Operations and Financial Condition

Today NIKE, Inc. issued a press release disclosing financial results for the fiscal quarter and full year ended May 31, 2022. The text of the release is furnished
herewith as Exhibit 99.1.

Item 9.01 Financial Statements and Exhibits

         (d) Exhibits.

The following exhibit is furnished with this Form 8-K:


         Exhibit No.                                                                            Exhibit
            99.1                                                             NIKE, Inc. Press Release dated June 27, 2022
            104                                              Cover Page Interactive Data File (embedded within the Inline XBRL document)

                                                                         SIGNATURES

        Pursuant to the requirements of the Securities Exchange Act of 1934, the registrant has duly caused this report to be signed on its behalf by the
undersigned hereunto duly authorized.



                                                                            NIKE, Inc.
                                                                           (Registrant)

Date:    June 27, 2022                                                   By: /s/ Matthew Friend
                                                                              Matthew Friend
                                                                              Executive Vice President and Chief Financial Officer




                                                                                                                                      Exhibit 11 - page 2
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Investor Contact:                                                                                                        Media Contact:
Paul Trussell                                                                                                           KeJuan Wilkins
investor.relations@nike.com                                                                                  media.relations@nike.com


                              NIKE, INC. REPORTS FISCAL 2022 FOURTH QUARTER
                                           AND FULL YEAR RESULTS

BEAVERTON, Ore., June 27, 2022 — NIKE, Inc. (NYSE:NKE) today reported financial results for its fiscal 2022 fourth quarter and
full year ended May 31, 2022.

•   Fourth quarter reported revenues were $12.2 billion, down 1 percent compared to prior year and up 3 percent on a currency-
    neutral basis*
•   NIKE Direct reported revenues for the fourth quarter were $4.8 billion, up 7 percent compared to prior year and up 11 percent
    on a currency-neutral basis
•   Wholesale reported revenues for the fourth quarter were $6.8 billion, down 7 percent compared to prior year and down 3
    percent on a currency-neutral basis
•   Gross margin for the fourth quarter decreased 80 basis points to 45 percent.
•   Diluted earnings per share was $0.90 for the fourth quarter
•   The Company announced its Board of Directors has authorized a new four-year, $18 billion program to repurchase shares of
    NIKE's Class B Common Stock

“NIKE’s results this fiscal year are a testament to the unmatched strength of our brands and our deep connection with consumers,"
said John Donahoe, President and CEO, NIKE, Inc. “Our competitive advantages, including our pipeline of innovative product and
expanding digital leadership, prove that our strategy is working as we create value through our relentless drive to serve the future of
sport."**

Fourth quarter NIKE Direct revenues grew 7 percent on a reported basis and 11 percent on a currency-neutral basis, led by 25
percent growth in EMEA, 43 percent growth in APLA and 5 percent growth in North America, partially offset by a decline in Greater
China. NIKE Brand Digital grew 15 percent on a reported basis and 18 percent on a currency-neutral basis, driven by double digit
growth in APLA, North America and EMEA. NIKE-owned stores declined 2 percent on a reported basis and increased 1 percent on
a currency-neutral basis.

“In this dynamic environment, NIKE's unrivaled strengths continue to fuel our momentum,” said Matt Friend, Executive Vice
President and Chief Financial Officer, NIKE, Inc. "Two years into executing our Consumer Direct Acceleration, we are better
positioned than ever to drive long-term growth while serving consumers directly at scale."**

Non-recurring Items Impacting Comparability in the Fourth Quarter
Fourth quarter results contain several non-comparable items, including non-recurring charges recorded in Other (income) expense,
net, totaling approximately $150 million, associated with the deconsolidation of our Russian operations, and the transition of our
businesses in Argentina, Chile and Uruguay to strategic distributor models.


Fourth Quarter Income Statement Review

•   Revenues for NIKE, Inc. decreased 1 percent to $12.2 billion compared to the prior year and were up 3 percent on a currency-
    neutral basis.
    ◦ Revenues for the NIKE Brand were $11.7 billion, down 1 percent on a reported basis and up 3 percent on a currency-neutral
        basis, led by 20 percent growth in EMEA.
    ◦ Revenues for Converse were $593 million, down 1 percent on a reported basis and up 3 percent on a currency-neutral
        basis, due to wholesale revenue declines offset by growth in our direct to consumer business.
•   Gross margin decreased 80 basis points to 45.0 percent, primarily due to higher inventory obsolescence reserves in Greater
    China and elevated freight and logistics costs, partially offset by strategic pricing actions, favorable changes in net foreign
    currency exchange rates, including hedges, and margin expansion in our NIKE Direct business.
•   Selling and administrative expense increased 8 percent to $4.0 billion.                                      Exhibit 11 - page 3
    ◦ Demand creation expense was $1.1 billion, up 6 percent, primarily due to increased sports marketing expenses and
        continued investments in digital marketing to support heightened digital demand.
    ◦ Operating overhead expense increased 8 percent to $3.0 billion, due to higher strategic technology investments, and an
       increase inCase
                   NIKE 3:24-cv-00974-AN            Documentexpenses.
                         Direct variable costs and wage-related  68-11      Filed 05/12/25        Page 5 of 11
•   The effective tax rate was (4.7) percent compared to 18.6 percent for the same period last year, due to a shift in our earnings
    mix and a non-cash, one-time benefit related to the onshoring of our non-U.S. intangible property.
•   Net income was $1.4 billion, down 5 percent, and Diluted earnings per share was $0.90, down 3 percent compared to prior
    year.

Fiscal 2022 Income Statement Review

•   Revenues for NIKE, Inc. increased 5 percent to $46.7 billion, up 6 percent on a currency-neutral basis.
    ◦ Revenues for the NIKE Brand were $44.4 billion, up 5 percent on a reported basis and 6 percent on a currency-neutral
        basis, driven by double-digit growth in NIKE Direct, partially offset by slight declines in wholesale revenues.
    ◦ NIKE Direct revenues were $18.7 billion, up 14 percent on a reported basis and up 15 percent on a currency-neutral basis,
        led by NIKE Brand digital growth of 18 percent and NIKE-owned stores were up 10 percent.
    ◦ Revenues for Converse were $2.3 billion, up 6 percent on a reported basis and up 7 percent on a currency-neutral basis,
        led by double-digit growth in our direct to consumer business, partially offset by lower wholesale revenues.
•   Gross margin increased 120 basis points to 46.0 percent, primarily due to margin expansion in our NIKE Direct business, a
    higher mix of full-price sales and favorable changes in net foreign currency exchange rates, including hedges, partially offset by
    elevated freight and logistics costs and higher inventory obsolescence reserves in Greater China in the fourth quarter.
•   Selling and administrative expense increased 14 percent to $14.8 billion.
    ◦ Demand creation expense was $3.9 billion, up 24 percent compared to prior year, primarily due to normalization of spend
        against brand campaigns and continued investments in digital marketing to support heightened digital demand.
    ◦ Operating overhead expense increased 11 percent to $11.0 billion due to higher strategic technology investments, and an
        increase in wage-related expenses and NIKE Direct variable costs.
•   The effective tax rate was 9.1 percent, compared to 14.0 percent for the same period last year, due to a shift in our earnings
    mix and a non-cash, one-time benefit related to the onshoring of our non-U.S. intangible property.
•   Net income was $6.0 billion, up 6 percent, and Diluted earnings per share was $3.75, up 5 percent compared to prior year.

May 31, 2022 Balance Sheet Review

•   Inventories for NIKE, Inc. were $8.4 billion, up 23 percent compared to the prior year period, driven by elevated in-transit
    inventories due to extended lead times from ongoing supply chain disruptions, partially offset by strong consumer demand.
•   Cash and equivalents and short-term investments were $13.0 billion, $479 million lower than prior year, as free cash flow
    was offset by share repurchases and dividends.

Shareholder Returns

NIKE continues to have a strong track record of investing to fuel growth and consistently increasing returns to shareholders,
including 20 consecutive years of increasing dividend payouts.

In the fourth quarter, the Company returned approximately $1.5 billion to shareholders, including:
• Dividends of $481 million, up 11 percent from prior year.
• Share repurchases of $1.1 billion, reflecting 8.5 million shares retired as part of the four-year, $15 billion program approved by
    the Board of Directors in June 2018.

In fiscal 2022, the Company returned approximately $5.8 billion to shareholders, including:
• Dividends of $1.8 billion, up 12 percent from prior year.
• Share repurchases of $4.0 billion, reflecting 27.3 million shares retired. As of May 31, 2022, a total of 77.4 million shares for
     $8.7 billion had been repurchased under the current program.

In June 2022, the Board of Directors authorized a new four-year, $18 billion program to repurchase shares of NIKE's Class B
common stock. The Company's new program will replace the current $15 billion share repurchase program, which will be
terminated in fiscal year 2023. Repurchases under the Company's new program will be made in open market or privately
negotiated transactions in compliance with the Securities and Exchange Commission Rule 10b-18, subject to market conditions,
applicable legal requirements and other relevant factors. The new share repurchase program does not obligate the Company to
acquire any particular amount of common stock, and it may be suspended at any time at the Company's discretion.

Conference Call

NIKE, Inc. management will host a conference call beginning at approximately 2:00 p.m. PT on June 27, 2022, to review fiscal
fourth quarter and full year results. The conference call will be broadcast live via the Internet and can be accessed at
http://investors.nike.com. For those unable to listen to the live broadcast, an archived version will be available at the same location
through 9:00 p.m. PT, July 15, 2022.
                                                                                                                Exhibit 11 - page 4
About NIKE, Inc.

NIKE, Inc., based near Beaverton, Oregon, is the world’s leading designer, marketer and distributor of authentic athletic footwear,
apparel, equipment  Case   3:24-cv-00974-AN
                      and accessories                Document
                                      for a wide variety            68-11
                                                         of sports and           Filed 05/12/25
                                                                        fitness activities.             Page 6 of 11NIKE, Inc.
                                                                                            Converse, a wholly-owned
subsidiary brand, designs, markets and distributes athletic lifestyle footwear, apparel and accessories. For more information, NIKE,
Inc.’s earnings releases and other financial information are available on the Internet at http://investors.nike.com. Individuals can
also visit http://news.nike.com and follow @NIKE.
*    See additional information in the accompanying Divisional Revenues table or the Supplemental NIKE Brand Revenue table regarding this non-GAAP financial measure.
**   The marked paragraphs contain forward-looking statements that involve risks and uncertainties that could cause actual results to differ materially. These risks and uncertainties
     are detailed from time to time in reports filed by NIKE with the U.S. Securities and Exchange Commission (SEC), including Forms 8-K, 10-Q and 10-K.


                                                                                (Tables Follow)




                                                                                                                                                     Exhibit 11 - page 5
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                                                              NIKE, Inc.
                                              CONSOLIDATED STATEMENTS OF INCOME
                                                                (Unaudited)

                                                        THREE MONTHS ENDED                %            TWELVE MONTHS ENDED                 %
(In millions, except per share data)                   5/31/2022     5/31/2021          Change         5/31/2022     5/31/2021           Change
Revenues                                           $       12,234 $      12,344             -1 % $         46,710 $      44,538               5%
Cost of sales                                                6,731         6,689             1%            25,231        24,576               3%
Gross profit                                                 5,503         5,655            -3 %           21,479        19,962               8%
  Gross margin                                                45.0 %        45.8 %                            46.0 %        44.8 %

Demand creation expense                                    1,061                997          6%            3,850               3,114        24 %
Operating overhead expense                                 2,974              2,745          8%           10,954               9,911        11 %
Total selling and administrative expense                   4,035              3,742          8%           14,804              13,025        14 %
 % of revenues                                              33.0 %             30.3 %                       31.7 %              29.2 %

Interest expense (income), net                                 40                63         —                205                 262         —
Other (income) expense, net                                    54                (4)        —               (181)                 14         —
Income before income taxes                                 1,374              1,854        -26 %           6,651               6,661          0%
Income tax (benefit) expense                                  (65)              345       -119 %             605                 934        -35 %
  Effective tax rate                                         (4.7)%            18.6 %                         9.1 %             14.0 %

NET INCOME                                         $       1,439      $       1,509         -5 % $         6,046      $        5,727         6%

Earnings per common share:
 Basic                                             $        0.91      $        0.96         -5 % $          3.83      $         3.64         5%
 Diluted                                           $        0.90      $        0.93         -3 % $          3.75      $         3.56         5%

Weighted average common shares outstanding:
 Basic                                                    1,572.0         1,579.0                         1,578.8            1,573.0
 Diluted                                                  1,595.0         1,614.9                         1,610.8            1,609.4

Dividends declared per common share                $       0.305      $       0.275                $       1.190      $        1.070




                                                                                                                          Exhibit 11 - page 6
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                                                            NIKE, Inc.
                                                   CONSOLIDATED BALANCE SHEETS
                                                             (Unaudited)

                                                                                      May 31,          May 31,
(Dollars in millions)                                                                  2022             2021         % Change
ASSETS
Current assets:
  Cash and equivalents                                                            $          8,574 $         9,889        -13 %
  Short-term investments                                                                     4,423           3,587         23 %
  Accounts receivable, net                                                                   4,667           4,463          5%
  Inventories                                                                                8,420           6,854         23 %
  Prepaid expenses and other current assets                                                  2,129           1,498         42 %
Total current assets                                                                        28,213          26,291          7%
  Property, plant and equipment, net                                                         4,791           4,904         -2 %
  Operating lease right-of-use assets, net                                                   2,926           3,113         -6 %
  Identifiable intangible assets, net                                                          286             269          6%
  Goodwill                                                                                     284             242         17 %
  Deferred income taxes and other assets                                                     3,821           2,921         31 %
TOTAL ASSETS                                                                      $         40,321 $        37,740          7%
LIABILITIES AND SHAREHOLDERS’ EQUITY
Current liabilities:
  Current portion of long-term debt                                               $            500 $            —          —
  Notes payable                                                                                 10               2        400 %
  Accounts payable                                                                           3,358           2,836         18 %
  Current portion of operating lease liabilities                                               420             467        -10 %
  Accrued liabilities                                                                        6,220           6,063          3%
  Income taxes payable                                                                         222             306        -27 %
Total current liabilities                                                                   10,730           9,674         11 %
  Long-term debt                                                                             8,920           9,413         -5 %
  Operating lease liabilities                                                                2,777           2,931         -5 %
  Deferred income taxes and other liabilities                                                2,613           2,955        -12 %
  Redeemable preferred stock                                                                    —               —          —
  Shareholders’ equity                                                                      15,281          12,767         20 %
TOTAL LIABILITIES AND SHAREHOLDERS’ EQUITY                                        $         40,321 $        37,740          7%




                                                                                                         Exhibit 11 - page 7
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                                                                        NIKE, Inc.
                                                               DIVISIONAL REVENUES
                                                                          (Unaudited)


                                                                                      % Change                                                     % Change
                                                                                      Excluding                                                    Excluding
                                           THREE MONTHS ENDED            %            Currency       TWELVE MONTHS ENDED              %            Currency
(Dollars in millions)                       5/31/2022 5/31/2021        Change         Changes1        5/31/2022 5/31/2021           Change         Changes1
North America
  Footwear                             $        3,580 $       3,793          -6 %             -6 % $       12,228 $       11,644           5%               5%
  Apparel                                       1,375         1,448          -5 %             -5 %          5,492          5,028           9%               9%
  Equipment                                       160           143          12 %             12 %            633            507          25 %             25 %
      Total                                     5,115         5,384          -5 %             -5 %         18,353         17,179           7%               7%
Europe, Middle East & Africa
  Footwear                                      2,030         1,831          11 %             22 %          7,388          6,970           6%               9%
  Apparel                                       1,083         1,023           6%              16 %          4,527          3,996          13 %             16 %
  Equipment                                       138           125          10 %             20 %            564            490          15 %             17 %
      Total                                     3,251         2,979           9%              20 %         12,479         11,456           9%              12 %
Greater China
  Footwear                                      1,178         1,316         -10 %            -12 %          5,416          5,748          -6 %             -10 %
  Apparel                                         350           572         -39 %            -40 %          1,938          2,347         -17 %             -21 %
  Equipment                                        33            45         -27 %            -28 %            193            195          -1 %              -6 %
      Total                                     1,561         1,933         -19 %            -20 %          7,547          8,290          -9 %             -13 %
Asia Pacific & Latin America
  Footwear                                      1,197        1,007           19 %             28 %          4,111          3,659          12 %             17 %
  Apparel                                         429          396            8%              16 %          1,610          1,494           8%              12 %
  Equipment                                        56           55            2%               9%             234            190          23 %             28 %
      Total                                     1,682        1,458           15 %             24 %          5,955          5,343          11 %             16 %
Global Brand Divisions2                            48            7          586 %            524 %            102             25         308 %            302 %
TOTAL NIKE BRAND                               11,657       11,761           -1 %              3%          44,436         42,293           5%               6%
Converse                                          593          596           -1 %              3%           2,346          2,205           6%               7%
Corporate3                                        (16)         (13)          —                —               (72)            40          —                —
TOTAL NIKE, INC. REVENUES              $       12,234 $     12,344           -1 %              3 %$        46,710 $       44,538           5%               6%

TOTAL NIKE BRAND
   Footwear                              $       7,985 $       7,947            0%                4 %$      29,143 $       28,021             4%              4%
   Apparel                                       3,237         3,439           -6 %              -2 %       13,567         12,865             5%              6%
   Equipment                                       387           368            5%              10 %         1,624          1,382            18 %            18 %
   Global Brand Divisions2                          48             7          586 %            524 %           102              25         308 %           302 %
TOTAL NIKE BRAND REVENUES                $     11,657 $       11,761           -1 %               3 %$      44,436 $       42,293             5%              6%
1
  The percent change has been calculated using actual exchange rates in use during the comparative prior year period and is provided to enhance the visibility
of the underlying business trends by excluding the impact of translation arising from foreign currency exchange rate fluctuations, which is considered a non-
GAAP financial measure. Management uses this non-GAAP financial measure when evaluating the Company's performance, including when making financial
and operating decisions. Additionally, management believes this non-GAAP financial measure provides investors with additional financial information that should
be considered when assessing the Company’s underlying business performance and trends. References to this measure should not be considered in isolation
or as a substitute for other financial measures calculated and presented in accordance with U.S. GAAP and may not be comparable to similarly titled non-GAAP
measures used by other companies.
2
  Global Brand Divisions revenues include NIKE Brand licensing and other miscellaneous revenues that are not part of a geographic operating segment.
3
  Corporate revenues primarily consist of foreign currency hedge gains and losses related to revenues generated by entities within the NIKE Brand geographic
operating segments and Converse, but managed through the Company’s central foreign exchange risk management program.




                                                                                                                                    Exhibit 11 - page 8
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                                                                        NIKE, Inc.
                                           SUPPLEMENTAL NIKE BRAND REVENUE DETAILS
                                                                          (Unaudited)
                                                                                                                                                  % Change
                                                                                                                                                  Excluding
                                                                                            TWELVE MONTHS ENDED                     %             Currency
(Dollars in millions)                                                                       5/31/2022   5/31/2021                 Change          Changes1
NIKE Brand Revenues by:
  Sales to Wholesale Customers                                                          $         25,608 $           25,898              -1 %              -1 %
  Sales through NIKE Direct                                                                       18,726             16,370              14 %              15 %
  Global Brand Divisions2                                                                            102                 25             308 %             302 %
TOTAL NIKE BRAND REVENUES                                                               $         44,436 $           42,293               5%                6%

NIKE Brand Revenues on a Wholesale Equivalent Basis:3
  Sales to Wholesale Customers                                                          $         25,608 $           25,898               -1 %              -1 %
  Sales from our Wholesale Operations to NIKE Direct Operations                                   10,543              9,872                7%                7%
TOTAL NIKE BRAND WHOLESALE EQUIVALENT REVENUES                                          $         36,151 $           35,770                1%                1%

NIKE Brand Wholesale Equivalent Revenues by:3,4
   Men’s                                                                                 $           18,797 $          18,391                2%               3%
   Women’s                                                                                            8,273             8,225                1%               1%
   NIKE Kids’                                                                                         4,874             4,882                0%               0%
   Jordan Brand                                                                                       5,122             4,780                7%               7%
   Others5                                                                                             (915)              (508)            -80 %            -79 %
TOTAL NIKE BRAND WHOLESALE EQUIVALENT REVENUES                                           $           36,151 $          35,770                1%               1%
1
  The percent change has been calculated using actual exchange rates in use during the comparative prior year period and is provided to enhance the visibility
of the underlying business trends by excluding the impact of translation arising from foreign currency exchange rate fluctuations, which is considered a non-
GAAP financial measure. Management uses this non-GAAP financial measure when evaluating the Company's performance, including when making financial
and operating decisions. Additionally, management believes this non-GAAP financial measure provides investors with additional financial information that should
be considered when assessing the Company’s underlying business performance and trends. References to this measure should not be considered in isolation
or as a substitute for other financial measures calculated and presented in accordance with U.S. GAAP and may not be comparable to similarly titled non-GAAP
measures used by other companies.
2
  Global Brand Divisions revenues include NIKE Brand licensing and other miscellaneous revenues that are not part of a geographic operating segment.
3
  References to NIKE Brand wholesale equivalent revenues, which are considered non-GAAP financial measures, are intended to provide context as to the total
size of the Company’s NIKE Brand market footprint if it had no NIKE Direct operations. NIKE Brand wholesale equivalent revenues consist of 1) sales to
external wholesale customers and 2) internal sales from the Company’s wholesale operations to its NIKE Direct operations which are charged at prices
comparable to those charged to external wholesale customers. Management uses this non-GAAP financial measure when evaluating the Company's
performance, including when making financial and operating decisions. Additionally, management believes this non-GAAP financial measure provides investors
with additional financial information that should be considered when assessing the Company’s underlying business performance and trends. References to this
measure should not be considered in isolation or as a substitute for other financial measures calculated and presented in accordance with U.S. GAAP and may
not be comparable to similarly titled non-GAAP measures used by other companies.
4
  As a result of the Consumer Direct Acceleration strategy, announced in fiscal 2021, the Company is now organized around a new consumer construct of Men's,
Women's and Kids'. Beginning in the first quarter of fiscal 2022, unisex products are classified within Men's, and Jordan Brand revenues are separately
reported. Certain prior year amounts have been reclassified to conform to fiscal 2022 presentation. These changes had no impact on previously reported
consolidated results of operations or shareholders' equity. For additional information about the Consumer Direct Acceleration refer to Item 7. Management's
Discussion and Analysis of Financial Condition and Results of Operations within the Company's Annual Report on Form 10-K for the fiscal year ended May 31,
2021.
5
  Others include products not allocated to Men’s, Women’s, NIKE Kids’ and Jordan Brand, as well as certain adjustments that are not allocated to products
designated by consumer.




                                                                                                                                    Exhibit 11 - page 9
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                                                                       NIKE, Inc.
                                               EARNINGS BEFORE INTEREST AND TAXES1
                                                                         (Unaudited)

                                                        THREE MONTHS ENDED                    %              TWELVE MONTHS ENDED                    %
(Dollars in millions)                                  5/31/2022    5/31/2021               Change           5/31/2022     5/31/2021              Change
North America                                      $        1,478 $       1,794                  -18 % $           5,114 $      5,089                      0%
Europe, Middle East & Africa                                  899           550                   63 %            3,293         2,435                     35 %
Greater China                                                 311           691                  -55 %            2,365         3,243                    -27 %
Asia Pacific & Latin America                                  549           418                   31 %            1,896         1,530                     24 %
Global Brand Divisions2                                    (1,229)       (1,110)                 -11 %           (4,262)       (3,656)                   -17 %
TOTAL NIKE BRAND1                                           2,008         2,343                  -14 %            8,406         8,641                     -3 %
Converse                                                        165              138                 20 %             669               543                23 %
Corporate3                                                     (759)            (564)               -35 %         (2,219)            (2,261)                2%
TOTAL NIKE, INC. EARNINGS BEFORE
INTEREST AND TAXES1                                           1,414            1,917                -26 %          6,856              6,923                -1 %
  EBIT margin1                                                  11.6 %          15.5 %                               14.7 %            15.5 %
Interest expense (income), net                                    40               63                —                205               262                —
TOTAL NIKE, INC. INCOME BEFORE INCOME
TAXES                                                $        1,374 $          1,854                -26 % $        6,651 $            6,661                 0%
1
  The Company evaluates the performance of individual operating segments based on earnings before interest and taxes (commonly referred to as “EBIT”),
which represents net income before interest expense (income), net and income tax expense. Total NIKE Brand EBIT, Total NIKE, Inc. EBIT and EBIT margin are
considered non-GAAP financial measures. Management uses these non-GAAP financial measures when evaluating the Company's performance, including
when making financial and operating decisions. Additionally, management believes these non-GAAP financial measures provide investors with additional
financial information that should be considered when assessing the Company’s underlying business performance and trends. EBIT margin is calculated as EBIT
divided by total NIKE, Inc. Revenues. References to EBIT and EBIT margin should not be considered in isolation or as a substitute for other financial measures
calculated and presented in accordance with U.S. GAAP and may not be comparable to similarly titled non-GAAP measures used by other companies.
2
  Global Brand Divisions primarily represent demand creation and operating overhead expense, including product creation and design expenses that are
centrally managed for the NIKE Brand, as well as costs associated with NIKE Direct global digital operations and enterprise technology. Global Brand Divisions
revenues include NIKE Brand licensing and other miscellaneous revenues that are not part of a geographic operating segment.
3
  Corporate consists primarily of unallocated general and administrative expenses, including expenses associated with centrally managed departments;
depreciation and amortization related to the Company’s corporate headquarters; unallocated insurance, benefit and compensation programs, including stock-
based compensation; and certain foreign currency gains and losses, including certain hedge gains and losses.




                                                                                                                                 Exhibit 11 - page 10
